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                                                                   UNITED STATES DISTRICT COURT
                                                                  CENTRAL DISTRICT OF CALIFORNIA

         UNITED STATES OF AMERICA,                                                      ~   Western Division
                                                                             Plaintiff, ~
                                            vs.                                         I   Case Number:2:17-CR-00684-SVW-1             ~dictrnent
                                                                                        ~   Initial App. Date: 12/21/2017               Summons
         Geo Medical Co., Ltd.                                                          ~   Initial App. Time: 2:00 PM




                                                                           Defendant. ~ Date Filed: 10/27/2017              /(~
                                                                                      ~ Violation: 18 USC 541; 2(b)         r 1~            I ~ — ~-
                                                                                      ~ Cour[SmarU Reporter:                ~'

                  PROCEEDINGS HELD BEFORE UNITED STATES                                 ~                      CALENDAR/PROCEEDINGS SHEET
                      MAGISTRATE JUDGE: Patrick J. Walsh                                ~                       LOCAL/OUT-OF-DISTRICT CASE




                PRESENT:                    Martinez, Isabel                    ',,//~,„ ~y„~ /_► /~ n ~              ~/~^ ~ ~ None
                                                                                 Vy I V~V vl.~ ~                             ~/ 1
                                               Deputy Clerk                              Assistant U.S. Anorney               Q        Interpreter/Language
                          INITIAL APPEARANCE NOT HELD -CONTINUED
                          Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
                              preliminary hearing OR ~ removal hearing /Rule 20.
                          Defendant states true name ~ is as charged ~ is
                       ~ Court ORDERS the caption of the Indictment/Infoanation be changed to reflect defendants different true name. Counsel aze directed to
                          file all future documents reflecting the true name as shted on the record.
                       ~ Defendant advised of consequences of false statement in financial          davit. ~ Financial Affidavit ordered SEALED.
                       ~ Attorney: , ~ Appointed ~ Prev. Appointed ~ Poss. Contribution (see separate order)
                           ~ Special appearance by:
                       ~ Governments request for detention is: ~ GRANTED ~ DENIED ~ WITHDRAWN ~ CONTINUED
                          Defendant is ordered: ~ Permanently Detained ~ Temporarily Detained (see separate order).
                       ~ BAIL FIXED AT $                                           (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
                          Government moves to iJNSEAL Complaint/Indictrnent/Information/Entire Case: ~ GRANTED ~ DENIED
                          Preliminary Hearing waived.
                       ~ Class B Misdemeanor ~ Defendant is advised of maximum penalties
                          This case is assigned to Magistrate Judge                                                  .Counsel are directed to contact the clerk for the
                          setting of all further proceedings.
                          PO/PSA WARRANT ~ Counsel are directed to contact the clerk for
                          District Judge                                                              for the setting of further proceedings.
                          Preliminary Hearing set for                                     at 4:30 PM
                       ~ PIA set for:                                    at 11:00 AM in LA; at 10:00 AM in Riverside; at 2:00 PM in Santa Ana
                       ~3 GovemmenYs motion to dismiss case/defendant                                                   only: ~ GRANTED ~ DENIED
                          Defendants motion to dismiss for lack of probable cause: ~ GRANTED ~ DENIED
                          Defendant executed Waiver of Rights. ~ Process received.
                          Court ORDERS defendant Held to Answer to                                     District of
                              Bond to transfer, if bail is posted. Defendant to report on or before
                              Warrant of removal and final commitment to issue. Date issued:                                  By CRD:
                              Warrant of removal and final commitrnent aze ordered stayed until
                       ~ Case continued to (Date)                                            (Time)                                   AM / PM
                          Type of Hearing:                                   Before Judge                                           /Duty Magistrate Judge.
                          Proceedings will be held in the 8 Duty Courtroom                                  ~ Judge's Courtroom
                          Defendant committed to the custody of the U.S. Mazshal             ummons: Defendant ordered to report to USM for processing.
                          Abstract of Court Proceeding (CR-53) issued. Copy forwarded to USM.
                          Abstract of Order to Return Defendant to Court on Next Court Day (M-20 issue . Original f             arded to USM.
                          RELEA O ER O:
                      .~6Lher:                                                                                                         ~
                                               PSA ~ USPO                               ~ FINANCIAL                           ~ READY
                         ,~ n „ ~-,                     _,             ~                /~     ~_ _      /~        _                 Deputy Clerk Initials



                   M-5 (iC~13)                             CAI.ENDAR/PROC~DING SHEE..T Z.00AL./OUT-OF-DISTRICT CASE                                     Page 1 of 1




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